Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 1 of 31 Page ID #1112




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

   OSBALDO JOSE-NICOLAS,                           )
                                                   )
                        Plaintiff,                 )
                                                   )
   vs.                                             )   Case No. 3:15-cv-964-NJR-DGW
                                                   )
   NATHAN BERRY,                                   )
   ROBERT HUGHES,                                  )
   JASON HART,                                     )
   RICHARD HARRINGTON,                             )
   WILLIAM QUALLS,                                 )
   JUSTIN SNELL,                                   )
   MATTHEW PURDOM, and                             )
   AIMEE LANG,                                     )
                                                   )
                        Defendants.                )

                           MEMORANDUM AND ORDER

   ROSENSTENGEL, District Judge:

         Currently pending before the Court is the motion for partial summary judgment

   filed by all Defendants on August 21, 2017 (Doc. 96). For the reasons set forth below, the

   motion is granted in part and denied in part.

                                        INTRODUCTION

         Plaintiff Osbaldo Jose-Nicolas, an inmate currently incarcerated at the Menard

   Correctional Center, is proceeding on a Second Amended Complaint filed on May 2,

   2016 (Doc. 50). The claims presented by Jose-Nicolas, who is represented by counsel,

   arise out of an incident that occurred on February 5, 2014. In short, Jose-Nicolas alleges

   that he was attacked and beaten on that day by correctional officers, Nathan Berry and

   William Qualls; that correctional officers, Justin Snell and Matthew Purdom, witnessed



                                         Page 1 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 2 of 31 Page ID #1113




   the attack but did nothing; that Defendant Aimee Lang, a correctional medical

   technician, failed to provide medical care following the attack; that he was deprived of

   due process at a subsequent disciplinary hearing by correctional officers, Robert

   Hughes and Jason Hart, and former warden Richard Harrington; and that he endured

   unconstitutional conditions of confinement—conditions known by former warden

   Richard Harrington and former assistant warden Kimberly Butler—during the six

   months of segregation that was imposed as a result of the disciplinary hearing (Doc. 50,

   pp. 1-2). Based on these allegations, Jose-Nicolas asserted the following claims that

   remain pending in this action: 1

           Count 1:        an excessive force claim against Berry and Qualls;

           Count 2:        a failure to intervene claim against Berry, Qualls, Snell, and
                           Purdom;

           Count 3:        a deliberate indifference claim against Berry, Qualls, Snell,
                           Purdom, and Lang; 2

           Count 4:        a due process claim against Hughes, Hart, and Harrington; 3

           Counts 6, 7: state law claims of assault and battery against Berry and
                        Qualls;

           Count 8:        a state law claim of intentional infliction of emotional
                           distress claim against Berry and Qualls;



   1Jose-Nicolas asserted a conditions of confinement claim in Count 5 (Doc. 50), however, that claim was
   dismissed with prejudice because it had previously been severed into a new case (Doc. 17; Doc. 80). Jose-
   Nicolas asserted a claim for “Respondeat Superior” against Wexford in Count 10 (Doc. 50), but Wexford
   has since been voluntarily dismissed without prejudice from this action (Doc. 64). Consequently, the
   Court deems Court 10 to be dismissed without prejudice.

   2 Jose-Nicolas also named Dr. John Trost in Count 3, however, Dr. Trost has since been voluntarily
   dismissed without prejudice from this action (Doc. 64).



                                                Page 2 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 3 of 31 Page ID #1114




         Count 9:      a state law claim of negligence against all Defendants; and

         Count 11:     a claim for “Indemnification” against all Defendants.

         Defendants now seek summary judgment on Count 2 as to Defendants Snell and

   Purdom, Count 3, Count 4, and the state law claims in Counts 8 and 9 (Doc. 96).

   Defendants filed a memorandum in support of their motion (Doc. 97) and a statement

   of undisputed material facts (Doc. 97-3). Jose-Nicolas filed a memorandum in

   opposition to the motion (Doc. 98), a response to Defendants’ statement of undisputed

   facts (Doc. 100), and a statement of additional facts (Doc. 99). Defendants then filed a

   response to Jose-Nicolas’s statement of additional facts (Doc. 103).

                                         BACKGROUND

         The undisputed evidence reveals that on February 5, 2014, Jose-Nicolas was

   housed with inmate Edgar Diaz (Doc. 100, p. 1). On that day, their cell was searched

   during a routine and random shakedown by Defendants Berry and Qualls (Doc. 101-8,

   pp. 2–3; see Doc. 101-9). Defendants claimed to have found homemade intoxicants and a

   needle inside property box number 008851, and an “altered” television within the cell

   (Doc. 101-9). Jose-Nicolas and Diaz were directed to a holding cell (Doc. 100, p. 2).

   While in the holding cell, Jose-Nicolas made an innocuous comment (to wit “yes, I’m

   good, are you good?”) to another inmate who walked past the holding cell (Id.).

   Defendant Qualls told Jose-Nicolas to “shut the fuck up and face the wall” and sit down

   (Id.). Jose-Nicolas turned and faced the wall, but he did not sit down (Id.). He was then

   handcuffed and removed from the holding cell (Id. at p. 3).




                                          Page 3 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 4 of 31 Page ID #1115




             What happened next is in dispute. According to Jose-Nicolas, Qualls punched

   him in the face and, along with Defendant Berry, “smashed” his head against a concrete

   wall (Doc. 100, p. 3; Doc. 103, p. 2). Jose-Nicolas was then placed in a shower area where

   Qualls and Berry continued to hit, punch, and kick him, and he lost consciousness

   (Doc. 100, p. 2; Doc. 103, pp. 2-3). Qualls and Berry then took Jose-Nicolas out of the

   shower area, banging his head on the wall on the way out (Doc. 103, p. 3).

             Jose-Nicolas says that Defendant Snell, a correctional officer, was present when

   he was initially punched, but Snell was not present in the shower area (Doc. 100, p. 3).

   Jose-Nicolas says Defendant Purdom, also a correctional officer, was near the holding

   cell and the shower area, and Purdom observed the assault but did nothing (Doc. 100,

   p. 3, Doc. 103, p. 3). The attack was audible to Jose-Nicolas’s cellmate Diaz and another

   inmate, who were both located outside the shower area (Doc. 103, p. 2). Diaz testified

   that he could hear “stomping,” and the other inmate stated that he could hear “blows

   landing” and Jose-Nicolas “crying in pain” (Doc. 101-4, p. 2; Doc. 102).

             Jose-Nicolas, who lost consciousness during the attack, was then taken to

   segregation and placed in another shower area (Doc. 100, p. 4, Doc. 103, p. 3). On the

   way, he fell on the sidewalk—he says from exhaustion and pain; Defendants claim he

   slipped on the ice, and another officer assisted Qualls in moving Jose-Nicolas (Doc. 103,

   p. 4). 4 Jose-Nicolas did not request medical care from any of Defendants but did request

   care from another officer (Doc. 100, p. 4).



   4   The other officer who assisted Qualls is not named as a defendant in this action.



                                                    Page 4 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 5 of 31 Page ID #1116




          It is undisputed that Jose-Nicolas was visually examined by medical technician

   Lang before he was placed in a segregation cell, which is a routine procedure in the

   prison (Doc. 103, p. 4). Jose-Nicolas testified that he told Lang the guards had just

   beaten him and that he had pain in his stomach, jaw, and forehead, which he said was

   bleeding, but not dripping blood. (Doc. 103, p. 5; Doc. 97-1, pp. 42, 44). Jose-Nicolas

   claims Lang told him that he looked fine and then left (Doc. 97-1, p. 43). Lang has no

   recollection of treating Jose-Nicolas (Doc. 97-1, Doc. 103). An “Inmate Injury Report”

   filled out by Lang notes that Jose-Nicolas had “superficial abrasions” to the left side of

   his forehead/hairline, but there was no bleeding, and there was no swelling, bruising

   bleeding, or deformities to his jaw, wrist, or thighs (Doc. 97-2, p. 4).

          The next day, Jose-Nicolas was served with two disciplinary tickets (see Doc. 101-

   9). The first was for insolence and disobeying a direct order for allegedly saying “fuck

   that” after Qualls told him to sit down (Id.). The second one was for “Drugs and Drug

   Paraphernalia” and “Damage or Misuse of Property” for the contraband found in the

   cell (Id.; Doc. 100, p. 6). Jose-Nicolas claims that the officer “threw the tickets” into his

   cell and did not give him the opportunity to sign the ticket or write the name of the

   witnesses he wanted to call at the disciplinary hearing (Doc. 103, p. 6). But even if he

   had been given an opportunity, he claims he did not have a pen or pencil (Id.). At some

   point before the hearing on the ticket on February 10, 2014, Jose-Nicolas secured a pen

   and paper, and he wrote a note to the Adjustment Committee (Id. at p. 7). Jose-Nicolas

   testified that the note indicated that he needed a translator, that he disputed the factual




                                           Page 5 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 6 of 31 Page ID #1117




   basis of the tickets, and that he wanted to call two witnesses: the officer who wrote the

   ticket and inmate Diaz (Id.; Doc. 97-1, p. 53-54, 56).

          It is undisputed that when Jose-Nicolas appeared before the Adjustment

   Committee, which was comprised of Defendants Hart and Hughes, on February 10,

   2014, his note was reviewed (Doc. 103, p. 7). Jose-Nicolas claims he was told that it was

   too late to call a witness (Doc. 97-1, pp. 53, 57), and no interpreter was provided

   (Doc. 103, p. 7). Jose-Nicolas was adjudicated guilty and punished with a demotion to

   C-grade for six months, six months in segregation, and six months of restricted

   commissary privileges and contact visits (Doc. 97-3, p. 1).

                                           DISCUSSION

          Summary judgment is proper if there is no genuine issue as to any material fact

   and the movant is entitled to judgment as a matter of law. FED. R. CIV. P. 56(a). “Factual

   disputes are genuine only if there is sufficient evidence for a reasonable jury to return a

   verdict in favor of the non-moving party on the evidence presented, and they are

   material only if their resolution might change the suit’s outcome under the governing

   law.” Maniscalco v. Simon, 712 F.3d 1139, 1143 (7th Cir. 2013) (citation and internal

   quotation marks omitted). In deciding a motion for summary judgment, “[a] court may

   not . . . choose between competing inferences or balance the relative weight of

   conflicting evidence; it must view all the evidence in the record in the light most

   favorable to the non-moving party and resolve all factual disputes in favor of the non-

   moving party.” Hansen v. Fincantieri Marine Grp., LLC, 763 F.3d 832, 836 (7th Cir. 2014)

   (citations omitted).


                                           Page 6 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 7 of 31 Page ID #1118




   A. Defendant Richard Harrington

          In a footnote in his response brief, Jose-Nicolas stated that he “dismisses

   Defendant Harrington from this, and all, claims” (Doc. 98, p. 9 n.1). The Court construes

   this footnote as a request by Jose-Nicolas to voluntarily dismiss Defendant Harrington.

          Such requests were long handled in this district under Federal Rule of Civil

   Procedure 41(a). But the Seventh Circuit no longer permits this approach because it

   does not square with a plain reading of Rule 41(a)(2). Taylor v. Brown, 787 F.3d 851, 857

   (7th Cir. 2015). “Rule 41(a)(2) allows the plaintiff to dismiss ‘an action’ on ‘terms that the

   court considers proper.’ . . . Rule 41(a) does not speak of dismissing one claim in a suit;

   it speaks of dismissing ‘an action’—which is to say, the whole case.” Id. (citing FED. R.

   CIV. P. 41(a)) (other citations omitted). But see 9 Charles Alan Wright & Arthur R. Miller,

   Federal Practice and Procedure Civil § 2362 (3d ed.) (arguing that interpreting Rule

   41(a) to only allow for the dismissal of an entire case places “an artificial limit on Rule

   41(a) that is reached only by an overly literal reading of that rule” and “the sounder

   view and the weight of judicial authority are to the contrary.”) The Seventh Circuit

   further instructed that dropping an individual party or claim should be accomplished

   through amending the complaint under Rule 15(a). Taylor, 787 F.3d 851.

          Using Rule 15 to whittle down the defendants or the claims in a case, however,

   can be inefficient and lead to unnecessary delays and expenses. There are obvious

   instances—such as when the plaintiff settles with one of multiple defendants or the

   parties stipulate to the dismissal of a particular defendant or a particular claim—that it

   would serve no purpose to require the plaintiff to move to amend his complaint, for


                                           Page 7 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 8 of 31 Page ID #1119




   which leave would be freely granted, and then require the defendant to answer the new

   complaint. The additional filings would amount to nothing more than busy work that

   clutters the docket. In this case, the additional filings also would require the Court to

   delay ruling on the motion for summary judgment and cancel the trial, which is

   scheduled to begin later this month. Therefore, there must be, as a practical matter,

   some mechanism by which courts can allow a plaintiff to drop an individual defendant

   or an individual claim without the cumbersome procedure and additional filings

   required by Rule 15.

          The undersigned concludes that mechanism is the Court’s “inherent powers that

   are ‘governed not by rule or statute but by the control necessarily vested in courts to

   manage their own affairs so as to achieve the orderly and expeditious disposition of

   cases.’” Dietz v. Bouldin, 136 S.Ct. 1885, 1891 (2016) (quoting Link v. Wabash R. Co., 370

   U.S. 626, 630–31 (1962)). See also 9 Charles Alan Wright & Arthur R. Miller, Federal

   Practice and Procedure Civil § 2362 (3d ed.) (“The power to drop some plaintiffs or

   some defendants from the suit plainly exists, either in the Civil Rules or in the inherent

   power of the district court.”)

          As the Supreme Court explained, “[t]he Federal Rules of Civil Procedure set out

   many of the specific powers of a federal district court. But they are not all

   encompassing.” Dietz, 136 S.Ct. at 1891. And “[t]hey make no provision . . . [for]

   many . . . standard procedural devices trial courts around the country use every day in

   service of Rule 1’s paramount command: the just, speedy, and inexpensive resolution of

   disputes.” Id. A district court can invoke its inherent power so long as its “a reasonable


                                         Page 8 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 9 of 31 Page ID #1120




   response to the problems and needs confronting the court’s fair administration of

   justice,” and it is not “contrary to any express grant of or limitation on the district

   court’s power contained in a rule or statute.” Id. at 1891-92.

          The undersigned believes that using the Court’s inherent powers to dismiss

   Defendant Harrington easily satisfies the first condition. It also satisfies the second

   condition because, although Rule 41(a) provides for the voluntary dismissal of an entire

   action, the undersigned is unaware of any reason why that Rule would preclude a

   federal court from resorting to its inherent power to dismiss something less than an

   entire action. Cf. Chambers v. NASCO, Inc., 501 U.S. 32, 49 (1991) (“[I]t was recognized

   that a federal district court has the inherent power to dismiss a case sua sponte for failure

   to prosecute, even though the language of Federal Rule of Civil Procedure

   41(b) appeared to require a motion from a party.” (citing Link, 370 U.S. at 630–32)).

          Accordingly, Richard Harrington is dismissed from this action pursuant to the

   Court’s inherent authority. Jose-Nicolas did not indicate whether he was asking for

   dismissal with or without prejudice (see Doc. 98, p. 9 n.1). Dismissal without prejudice

   would be unfair to Defendant Harrington, however, given the late stage of this lawsuit

   and his pending motion for partial summary judgment. Consequently, the dismissal of

   Defendant Harrington is with prejudice.

   B. Count 2: Failure to Intervene

          Defendants seek summary judgment on Count 2, a failure to intervene claim

   against Defendants Berry, Qualls, Snell, and Purdom (see Doc. 50), as to Defendants

   Snell and Purdom only (Doc. 97).


                                           Page 9 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 10 of 31 Page ID #1121




          A prison official “can be held liable under § 1983 if [he] (1) had reason to know

   that a fellow officer was using excessive force . . . and (2) had a realistic opportunity to

   intervene to prevent the act from occurring.” Lewis v. Downey, 581 F.3d 467, 472 (7th Cir.

   2009) (citations omitted). Defendants argue that Purdom and Snell only witnessed one

   punch and therefore did not have a realistic opportunity to intervene in any

   constitutional violation (Doc. 97). They further argue that Purdom and Snell did not

   observe and were not involved in the beating in the shower area (Doc. 97). Jose-Nicolas

   has submitted evidence, however, from which a reasonable jury could conclude

   otherwise. Specifically, there is evidence that Purdom was in the shower area when

   Jose-Nicolas was being beaten by Berry and Qualls (Doc. 97-1, p. 34). And Snell, who

   had already witnessed one punch, was with inmate Diaz outside of the shower area

   (Doc. 97-1, p. 35), but within earshot of the stomps, punches, and Jose-Nicolas’s cries of

   pain. Thus a jury could find that they were not only aware that Jose-Nicolas was being

   beaten but that they did nothing—even though they had the opportunity to do so.

   Consequently, the motion for summary judgment as it relates to Defendants Purdom

   and Snell on Count 2 is denied.

   C. Count 3: Deliberate Indifference to a Serious Medical Need

          Count 3 is a claim for deliberate indifference to a serious medical need against

   Defendants Berry, Qualls, Snell, Purdom, and Lang (Doc. 50). The Supreme Court has

   recognized that “deliberate indifference to serious medical needs of prisoners” may

   constitute cruel and unusual punishment under the Eighth Amendment. Estelle v.

   Gamble, 429 U.S. 97, 104 (1976). In order to prevail on a claim for deliberate indifference


                                          Page 10 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 11 of 31 Page ID #1122




   to a serious medical need, there are “two high hurdles, which every inmate-plaintiff

   must clear.” Dunigan ex rel. Nyman v. Winnebago Cnty., 165 F.3d 587, 590 (7th Cir. 1999).

   First, a plaintiff must demonstrate that his medical condition was “objectively,

   sufficiently serious.” Greeno v. Daley, 414 F.3d 645, 652-653 (7th Cir. 2005) (citations and

   quotation marks omitted). Second, a plaintiff must demonstrate that the “prison

   officials acted with a sufficiently culpable state of mind,” namely deliberate

   indifference. Greeno, 414 F.3d at 653.

          With respect to the first element, a serious medical need includes “[t]he existence

   of an injury that a reasonable doctor or patient would find important and worthy of

   comment or treatment; the presence of a medical condition that significantly affects an

   individual’s daily activities; or the existence of chronic and substantial pain.” Hayes v.

   Snyder, 546 F.3d 516, 522-23 (7th Cir. 2008) (quoting Gutierrez v. Peters, 111 F.3d 1364,

   1373 (7th Cir. 1997)). See also Greeno, 414 F.3d at 653 (“A serious medical condition is one

   that has been diagnosed by a physician as mandating treatment or one that is so

   obvious that even a lay person would perceive the need for a doctor’s attention.”)

          Here, Defendants argue that Jose-Nicolas only had an abrasion. Jose-Nicolas

   testified, however, that he was brutally beaten until he lost consciousness and that he

   was actively bleeding from a cut on his forehead (Doc. 100; Doc. 97-1). He also

   recounted that he was in significant pain (Doc. 100; Doc. 97-1). A jury that credits Jose-

   Nicolas’s story could reasonably conclude that it was obvious he needed a doctor’s

   attention. Thus, Jose-Nicolas has established a genuine issue of fact as to whether he

   had a sufficiently serious medical condition.


                                            Page 11 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 12 of 31 Page ID #1123




          As for the second element of a deliberate indifference claim, a plaintiff must put

   forth evidence that the prison officials knew that the prisoner’s medical condition posed

   a serious health risk, but they consciously disregarded that risk. Holloway v. Delaware

   Cnty. Sheriff, 700 F.3d 1063, 1073 (7th Cir. 2012). “This subjective standard requires more

   than negligence and it approaches intentional wrongdoing.” Id.; accord Berry v. Peterman,

   604 F.3d 435, 440 (7th Cir. 2010) (“Deliberate indifference is intentional or reckless

   conduct, not mere negligence.”); McGowan v. Hulick, 612 F.3d 636, 640 (7th Cir. 2010)

   (“[N]egligence, even gross negligence does not violate the Constitution.”). A plaintiff

   does not have to prove that his complaints were “literally ignored,” but only that “the

   defendants’ responses were so plainly inappropriate as to permit the inference that the

   defendants intentionally or recklessly disregarded his needs.” Hayes v. Snyder, 546 F.3d

   516, 524 (7th Cir. 2008) (quoting Sherrod v. Lingle, 223 F.3d 605, 611 (7th Cir. 2000)).

   “Even if the defendant recognizes the substantial risk, he is free from liability if he

   ‘responded reasonably to the risk, even if the harm ultimately was not averted.’” Gayton

   v. McCoy, 593 F.3d 610, 620 (7th Cir. 2010) (quoting Farmer, 511 U.S. at 843).

          Defendants Berry, Qualls, Snell, and Purdom argue that they could not have

   been deliberately indifferent because Jose-Nicolas “did not complain to them about

   injuries or request medical attention” (Doc. 97, p. 6). This argument is disingenuous.

   There is evidence in this case from which a reasonable jury could conclude that

   Defendants Berry and Qualls beat Jose-Nicolas to the point of unconsciousness while

   Defendants Purdom and Snell stood by. After beating Jose-Nicolas to the point where

   he could not verbalize a need for help, Berry and Qualls cannot now state that they


                                          Page 12 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 13 of 31 Page ID #1124




   didn’t know he needed help. Similarly, if Defendants Purdom and Snell heard the

   beating and Jose-Nicolas’s cries, they cannot now state that they didn’t know he needed

   help.

           Defendants Berry, Qualls, Snell, and Purdom also argue that they cannot be held

   liable for deliberate indifference because Jose-Nicolas was escorted to segregation and

   was seen by a medical professional within five to ten minutes after arriving in

   segregation (Doc. 97, p. 6). This argument might have some merit if there was evidence

   that Defendants decided not to seek help for Jose-Nicolas because they knew he would

   be seen by a medical professional shortly after arriving in segregation. See, e.g., Arnett v.

   Webster, 658 F.3d 742, 755 (7th Cir. 2011) (“We have previously stated that if a prisoner

   is under the care of medical experts, a non-medical prison official will generally be

   justified in believing that the prisoner is in capable hands.”). Defendants did not,

   however, point to any evidence indicating that they knew as much or made such a

   decision (see Doc. 97).

           As for Defendant Lang, she argues that she was not deliberately indifferent

   because she saw Jose-Nicolas within five to ten minutes after he arrived in segregation,

   she “heard his complaints, gave him an examination, noted no injuries other than the

   superficial abrasion, and directed him to follow up with medical staff as needed”

   (Doc. 97, p. 6). But Jose-Nicolas submitted evidence that Lang conducted nothing more

   than a cursory examination and ignored his complaints of pain and his need for

   additional medical care. For example, Lang indicated that she examined Jose-Nicolas’s

   wrist, but he claims that during the examination he was in handcuffs, behind bars, and


                                          Page 13 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 14 of 31 Page ID #1125




   wearing a sweater (see Doc. 97-2, p. 4; Doc. 101-1; Doc. 101-6). Lang also indicated that

   she examined Jose-Nicolas’s thighs, but there is no evidence that his jumpsuit had been

   taken off (see Doc. 97-2, p. 4; Doc. 101-1; Doc. 101-6). Thus, Jose-Nicolas has established

   a genuine issue of fact as to whether Defendant Lang was deliberately indifferent to his

   serious medical need.

            Consequently, Defendants’ motion for summary judgment as it relates to Count

   3 is denied.

   D. Count 4: Due Process

            Count 4 is a due process claim against Defendants Hughes, Hart, and Harrington

   related to the disciplinary hearing. Specifically, Jose-Nicolas alleges that his due process

   rights were violated when he was not allowed to present witnesses at the hearing and

   when the disciplinary tickets were not translated into Spanish for him and he was not

   provided an interpreter.

            A prisoner challenging the process he was afforded in a prison disciplinary

   proceeding must meet two requirements: (1) he has a liberty or property interest that

   the state has interfered with; and (2) the procedures he was afforded upon that

   deprivation were constitutionally deficient. Scruggs v. Jordan, 485 F.3d 934, 939 (7th Cir.

   2007).

            Here, Defendants do not argue that Jose-Nicolas’s term in segregation did not

   implicate a liberty interest (see Doc. 97). Sandin v. Conner, 515 U.S. 472, 484 (1995)

   (holding that a term of segregation can implicate a liberty interest only if it “impose[d]

   [an] atypical and significant hardship on the inmate in relation to the ordinary incidents


                                          Page 14 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 15 of 31 Page ID #1126




   of prison life.”) Consequently, for the purpose of summary judgment, the Court

   assumes that Jose-Nicolas’s confinement in segregation was atypical or imposed a

   significant hardship. The following discussion will analyze the procedures that Jose-

   Nicolas was afforded.

           1. Spanish-English Translation & Interpreter

           The Court turns first to the issue of whether Jose-Nicolas’s due process rights

   were violated when the disciplinary tickets were not translated into Spanish for him

   and he was not provided an interpreter at the hearing. The Seventh Circuit has held that

   “[a] criminal defendant is denied due process when he is unable to understand the

   proceedings due to a language difficulty.” Mendoza v. United States, 755 F.3d 821, 827

   (7th Cir. 2014) (citing United States v. Johnson, 248 F.3d 655, 663 (7th Cir. 2001). 5 The

   Seventh Circuit has never applied this standard to prison disciplinary hearings, but

   several district courts have. See, e.g., Holmes v. Godinez, 311 F.R.D. 177, 238 (N.D. Ill.

   2015) (“[H]earing impaired inmates who are not fluent in English may have a due

   process right to a qualified interpreter at prison disciplinary hearings.”); Sandoval v.

   Holinka, No. 09-CV-033-BBC, 2009 WL 1773148, at *2 (W.D. Wis. June 23, 2009) (“[D]ue

   process is violated when a non-English speaking prisoner must proceed before a

   disciplinary hearing officer when he cannot understand the proceeding or comprehend



   5 Specifically, the Seventh Circuit said that “a defendant in a criminal proceeding is denied due process
   when: (1) what is told to him is incomprehensible; (2) the accuracy and scope of a translation at a hearing
   or trial is subject to grave doubt; (3) the nature of the proceeding is not explained to [the defendant] in a
   manner designed to insure his full comprehension; or (4) a credible claim of incapacity to understand due
   to language difficulty is made and the district court fails to review the evidence and make appropriate
   findings of fact.” United States v. Johnson, 248 F.3d 655, 663 (7th Cir. 2001) (quoting United States v.
   Cirrincione, 780 F.2d 620, 634 (7th Cir. 1985)).


                                                 Page 15 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 16 of 31 Page ID #1127




   his rights.”); Peralta v. Vasquez, No. 01CIV.3171(BSJHBP), 2009 WL 750218, at *2

   (S.D.N.Y. Mar. 20, 2009) (“[A]n inmate who is not fluent in English is entitled to an

   interpreter to permit him to understand the charge and the evidence against him.”)

         Here, the parties agree that “[i]f an inmate cannot comprehend English, then he

   cannot be said to have a meaningful opportunity to defend himself. Therefore, due

   process is violated when a non-English-speaking prisoner must proceed before a

   disciplinary hearing officer when he cannot understand the proceeding or comprehend

   his rights” (Docs. 97, 98) (citing Sandoval v. Holinka, No. 09-CV-033-BBC, 2009 WL

   1773148, at *2 (W.D. Wis. June 23, 2009)). But the parties dispute whether Jose-Nicolas

   was able to understand the charges against him and his rights at the disciplinary

   hearing, to comprehend the proceedings, or to fully defend himself (see Docs. 97, 98).

   The undisputed evidence shows that Jose-Nicolas requested a translator for the

   disciplinary hearing in a note he wrote to the Adjustment Committee, but no translator

   was provided (Doc. 103, ¶ 24). Jose-Nicolas admitted, however, that he wrote the note

   in English without any assistance (Doc. 100, ¶¶ 40, 45). He also admitted that, after the

   hearing, he wrote a grievance in English without any assistance (Doc. 100, ¶¶ 44, 45).

         Jose-Nicolas nevertheless maintains that English is not his first language and he

   is not fluent in English (Doc. 99, ¶ 26). When asked whether Jose-Nicolas was

   “proficient” in the English language, neither Defendants Hughes nor Hart could recall

   (Doc. 101-12, Doc. 101-13). The Court further notes that Jose-Nicolas was provided

   counsel at the outset of this case because “he cannot speak or write English to a degree

   that would allow him to prosecute this case pro se” (Doc. 9). Additionally, a translator


                                         Page 16 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 17 of 31 Page ID #1128




   was present at Jose-Nicolas’s deposition (see Doc. 97-1, p. 8). When asked “how fluent

   are you in English,” Jose-Nicolas responded “not much” (Id.). When asked if he

   understood “what the two tickets were charging you with,” Jose-Nicolas answered

   “no.” (Id. at p. 55). But four questions later, he was asked “did you understand what the

   charges were,” and he answered “yes” (Id.)

          Based on the record currently before the Court, there is a material issue of fact as

   to whether Jose-Nicolas was proficient enough in English to not have his tickets

   translated to Spanish and to go through the disciplinary hearing without an interpreter.

   Consequently, Defendants are not entitled to judgment as a matter of law on the issue

   of whether the lack of an interpreter violated Jose-Nicolas’s due process rights.

          2. Presentation of Witnesses

          The Court next turns to the issue of whether Jose-Nicolas’s due process rights

   were violated when he was not permitted to call witnesses at his disciplinary hearing.

   “Inmates have a due process right to call witnesses at their disciplinary hearings when

   doing so would be consistent with institutional safety and correctional goals, but there

   is no right to call witnesses whose testimony would be irrelevant, repetitive, or

   unnecessary.” Piggie v. Cotton, 344 F.3d 674, 677 (7th Cir. 2003) (citations omitted).

          Jose Nicolas stated in his amended complaint that he wanted to call two

   witnesses: Officer Berry (one of the officers who wrote the ticket and who allegedly

   used excessive force against Jose-Nicolas) and his cellmate, Edgar Diaz (Doc. 50). In

   their motion for summary judgment, Defendants argue that Jose-Nicolas’s inability to

   call either of those two witnesses did not violate his due process rights (Doc. 97, pp. 7–


                                          Page 17 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 18 of 31 Page ID #1129




   9). In responding to the motion for summary judgment, Jose-Nicolas’s argument

   pertains only to Diaz (see Doc. 98, pp. 10–12). He did not make any argument regarding

   Officer Berry, and thus Jose-Nicolas seemingly concedes that his inability to call Officer

   Berry as a witness did not violate his due process rights (see id.). See also Oliver v. Pfister,

   655 F. App’x 497, 500 (7th Cir. 2016), reh’g denied (Aug. 30, 2016) (explaining it would be

   repetitive to call the reporting officer as a witness at a disciplinary hearing in order to

   have that officer confirm the information already contained in the report). Therefore,

   the Court’s analysis will address only Jose-Nicolas’s inability to call inmate Diaz as a

   witness.

          Defendants argue that calling Diaz as a witness would not have aided Jose-

   Nicolas’s defense because “it can be assumed [Diaz] would have testified consistently

   with his deposition testimony in this case—that he and the Jose-Nicolas were in

   possession of the hooch in their cell and that Jose-Nicolas altered Inmate Diaz’s

   television” (Doc. 97, p. 8). For his part, Jose-Nicolas argues that Diaz would have

   testified “that the alcohol found in the cell belonged to [Diaz], the altered TV also

   belonged to [Diaz] and had his name on it . . . .” (Doc. 98, p. 11). In other words, the

   parties read Diaz’s testimony to say exact opposite things.

          The Court has reviewed Edgar Diaz’s testimony, and it appears that each party is

   half-right. When asked if he and Jose-Nicolas had “hooch” in their cell, Diaz responded

   “I mean, yeah . . . It was mine” (Doc. 97-3, p. 16) (emphasis added). When asked about

   the television, Diaz stated “That was my TV . . . my headphone jack was messed up, so I

   had [Jose-Nicolas] fix it. I paid [Jose-Nicolas] to fix my TV” (Id.). Thus, assuming Diaz’s


                                           Page 18 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 19 of 31 Page ID #1130




   testimony at the disciplinary hearing would have been consistent with his deposition

   testimony, calling him as a witness would have benefited Jose-Nicolas on the Drug and

   Drug Paraphernalia charge and seemingly exonerated him on the Drug and Drug

   Paraphernalia charge. But Diaz’s testimony would not have exonerated Jose-Nicolas on

   the Damage or Misuse of Property charge.

           Defendants suggest that refusing to allow Jose-Nicolas to call Diaz as a witness

   was harmless because, even if Diaz had testified, the end-result of the disciplinary

   hearing would have been the same because “at least three of the four charges Plaintiff

   faced are punishable by six months of segregation, C-grade, commissary restriction, and

   contact visits restriction” (Doc. 97, p. 8) (citing 20 ILL. ADMIN. CODE § 504, Table A).

   While it is true that the maximum possible penalty for Damage or Misuse of Property

   was six months of segregation, 20 ILL. ADMIN. CODE § 504, Table A (2014), 6 there is

   simply no evidence (or even any argument) that this is the punishment that would have

   still been recommended or imposed on Jose-Nicolas, even if he had been exonerated on

   the Drug and Drug Paraphernalia charge (see Doc. 97). Accordingly, there remains an

   issue of fact as to whether the refusal to allow Jose-Nicolas to call Diaz as a witness was

   harmless. Defendants are therefore not entitled to judgment on this issue either.

           In sum, Defendants’ motion for summary judgment as it pertains to Count 4

   must be denied.


   6 Defendants did not provide the Court with a copy of the Table they cited to, however, the Court was

   able to use Westlaw to access a Table from the 2014 Illinois Administrative Code, which is the version
   that would have been in effect at the time of the disciplinary hearing at issue. The Table indicates the
   maximum possible penalty for Insolence is one month, and the maximum possible penalty for
   Disobeying a Direct Order is three months. 20 ILL. ADMIN. CODE § 504, Table A (2014).


                                               Page 19 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 20 of 31 Page ID #1131




    Qualified Immunity

          In light of the Court’s conclusion that Defendants are not entitled to summary

   judgment on Counts 2, 3, or 4, the Court must address their argument that they are

   protected from liability by qualified immunity (Doc. 97, pp. 14–16).

          “Generally, qualified immunity protects government agents from liability when

   their actions do not violate ‘clearly established statutory or constitutional rights of

   which a reasonable person would have known.’” Hernandez v. Cook Cnty. Sheriff’s Office,

   634 F.3d 906, 914 (7th Cir. 2011) (citing Purvis v. Oest, 614 F.3d 713, 720 (7th Cir. 2010)).

   “It protects ‘all but the plainly incompetent or those who knowingly violate the law.’”

   Burritt v. Ditlefsen, 807 F.3d 239, 249 (7th Cir. 2015) (quoting Malley v. Briggs, 475 U.S.

   335, 341 (1986)). In determining whether Defendants are entitled to qualified immunity,

   the Court must ask two questions:         (1) whether the facts, taken in the light most

   favorable to Jose-Nicolas, show that Defendants violated a constitutional right; and

   (2) whether that constitutional right was clearly established at the time of the alleged

   violation. Hernandez, 634 F.3d at 914 (citing Saucier v. Katz, 533 U.S. 194, 201, 202 (2001)).

          Defendants argue that they are entitled to qualified immunity because “the facts

   alleged here do not give rise to a Constitutional violation” and therefore holding them

   liable would “establish a new standard” under which Defendants would not have been

   aware their conduct was unlawful (Doc. 97, pp. 15–16). This argument is fundamentally

   flawed, however, because it is based on Defendants’ own version of the facts. As set

   forth above, Jose-Nicolas put forth a different set of facts that establish a genuine issue

   of fact as to whether his constitutional rights were violated. As for whether Jose-


                                           Page 20 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 21 of 31 Page ID #1132




   Nicolas’s rights were clearly established at the time of the alleged violation, Defendants

   did not make any credible argument on this point, nor could they, because those rights

   were certainly well-established by 2014. See supra Parts B, C, and D. Accordingly,

   Defendants are not entitled to qualified immunity.

   E. Count 8: Intentional Infliction of Emotional Distress

          Count 8 is a claim under Illinois state law for intentional infliction of emotional

   distress against Defendants Berry and Qualls. To survive summary judgment on this

   claim, Jose-Nicolas “must present evidence showing that (1) [Defendants’] conduct was

   truly extreme and outrageous, (2) [Defendants] either intended to inflict emotional

   distress or knew there was at least a high probability that [they] would cause severe

   emotional distress, and (3) the conduct in fact caused severe emotional distress. Stokes v.

   Bd. of Educ. of the City of Chicago, 599 F.3d 617, 626 (7th Cir. 2010) (citing Feltmeier v.

   Feltmeier, 798 N.E.2d 75, 80 (Ill. 2003)).

          The Court elects to bypass the first two elements and address whether

   Defendants’ conduct caused Jose-Nicolas severe emotional distress. “Severe emotional

   distress” is distress so severe that no reasonable person could be expected to endure it.

   Lifton v. Bd. of Educ. of City of Chi., 416 F.3d 571, 579 (7th Cir. 2005). In his briefing, Jose-

   Nicolas does not identify the severe emotional distress that he allegedly suffered (see

   Doc. 98). In fact, he doesn’t even make a bald assertion that he was humiliated,

   depressed, or something of the like following the attack (see Doc. 98). Jose-Nicolas also

   does not point to any evidence that describes his alleged emotional distress (see

   Doc. 98). Consequently, he has failed to satisfy his burden of setting forth specific facts


                                            Page 21 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 22 of 31 Page ID #1133




   showing that there is genuine issue for trial, and Defendants are entitled to summary

   judgment on this claim. See Springer v. Durflinger, 518 F.3d 479, 484 (7th Cir. 2008)

   (“Summary judgment is the put up or shut up moment in a lawsuit, when a party must

   show what evidence it has that would convince a trier of fact to accept its version of the

   facts.” (quoting Steen v. Myers, 486 F.3d 1017, 1022 (7th Cir. 2007))). In light of this

   conclusion, the Court need not address Defendants’ arguments that they are entitled to

   various forms of immunity on this claim (see Doc. 97, pp. 12–16).

   F. Count 9: Negligent or Willful and Wanton Conduct

           Count 9—titled “Negligent or Willful and Wanton Conduct”—is brought against

   all Defendants (Doc. 50), but only Defendants Berry and Qualls move for summary

   judgment this claim (see Doc. 97, p. 12).

           Before addressing Berry and Qualls’s argument for summary judgment, the

   Court needs to address the nature of the claim in Count 9. The title given to Count 9

   implies that Jose-Nicolas is asserting an aggravated negligence claim based on willful

   and wanton conduct against Defendants Berry and Qualls, and in the alternative, an

   ordinary negligence claim. 7 Unfortunately, however, the amended complaint does not

   delineate, and the Court cannot fathom, how Defendant Berry and Qualls acted

   negligently (see Doc. 50). The factual allegations in the amended complaint suggest only



   7 “There is no separate, independent tort of willful and wanton conduct. Rather, willful and wanton
   conduct is regarded as an aggravated form of negligence.” Jane Doe-3 v. McLean Cnty. Unit Dist. No. 5 Bd.
   of Directors, 973 N.E.2d 880, 887 (Ill. 2012) (citing Krywin v. Chi. Transit. Auth., 938 N.E.2d 440, 452 (Ill.
   2010)). “In order to recover damages based on willful and wanton conduct, a plaintiff must plead and
   prove the basic elements of a negligence claim . . . [and] either a deliberate intention to harm or a
   conscious disregard for the plaintiff’s welfare.” Jane Doe-3, 973 N.E.2d at 887 (citing Krywin, 938 N.E.2d at
   452).


                                                 Page 22 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 23 of 31 Page ID #1134




   that Berry and Qualls intentionally injured Jose-Nicolas by beating him while he was

   restrained until he lost consciousness (Doc. 50). In his response to the motion for

   summary judgment, Jose-Nicolas seemingly confirms that he is only asserting a claim

   against Berry and Qualls based on willful and wanton conduct, and not ordinary

   negligence, by stating that he “alleges willful and wanton conduct” against them and

   that he has evidence their actions were intentionally meant to cause harm (Doc. 98,

   p. 15). All that being said, neither party speaks to the nature of Count 9 in their briefing,

   and thus the Court assumes that Jose-Nicolas is pursuing both an ordinary negligence

   claim and a negligence claim based on willful and wanton conduct against Defendants

   Berry and Qualls.

          In support of their request for summary judgment on Count 9, Berry and Qualls

   advance a four-sentence argument, which is reproduced below in its entirety:

          The law distinguishes between intentional acts and negligence; intentional
          negligence is not an appropriate cause of action. See, e.g., Staub v. Proctor
          Hosp., 562 U.S. 411, 417 (2011). Intentional torts require that the actor
          intended the consequences, not just the act itself. Illinois law views willful
          and wanton allegations as aggravated negligence. Walfer v. Evanston
          Northwestern Healthcare, 52 N.E. 3d 319, 327 (Ill. S. Ct. 2016). [Jose-Nicolas]
          only alleges intentional acts against Defendants and has no evidence of
          the Defendants intentions. (UMF 47). Defendants are, therefore, entitled to
          summary judgment on [Jose-Nicolas’s] negligence and willful and wanton
          misconduct claims.

   (Doc. 97, p. 12).

          The Court is unable to discern what exactly Defendants Berry and Qualls are

   arguing. This argument is simply too undeveloped for the Court to properly analyze it,




                                          Page 23 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 24 of 31 Page ID #1135




   and therefore, Defendants request for summary judgment on Count 9 is summarily

   denied.

         In light of the conclusion that Berry and Qualls are not entitled to summary

   judgment on Count 9, the Court must consider whether they are entitled to state

   sovereign immunity or public official immunity (Doc. 97, pp. 12–16). The Court notes

   that it seems as though the immunity arguments were intended to apply to all

   Defendants, not just Berry and Qualls. It is not entirely clear, however, because the

   motion simply refers to “Defendants” and speaks very generally about immunity (see

   Doc. 97, pp. 12–16); it does not name any of the Defendants or explain how their specific

   conduct is shielded by immunity (see id.). It is obvious from his response brief that Jose-

   Nicolas assumed the immunity arguments applied only to Defendants Berry and Qualls

   as those are the only two Defendants that he addressed (Doc. 98, pp. 16–20). Despite the

   vagaries of the allegations in Count 9 and the absence of any briefing regarding the

   conduct of Defendants Hughes, Hart, Snell, Purdom, and Lang, the Court believes that

   it is relatively easily to determine that none of the remaining Defendants are entitled to

   any kind of immunity on Count 9. Consequently, the following discussion on immunity

   will not be limited to Defendants Berry and Qualls and will address all Defendants.

         1. State Sovereign Immunity

         The Illinois State Lawsuit Immunity Act provides that the State shall not be made

   a defendant in any Court except as provided in either the Public Labor Relations Act

   (not at issue here) or the Court of Claims Act. 745 ILL. COMP. STAT. 5/1. The Court of

   Claims Act vests exclusive jurisdiction in the Court of Claims for “all claims against the


                                         Page 24 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 25 of 31 Page ID #1136




   State for damages in cases sounding in tort.” 705 ILL. COMP. STAT. 505/8. In other words,

   the State is immune from claims for tort damages in any court other than the Illinois

   Court of Claims. Richman v. Sheahan, 270 F.3d 430, 441 (7th Cir. 2001); Healy v. Vaupel,

   549 N.E.2d 1240, 1246 (Ill. 1990).

          Here, Jose-Nicolas did not sue the State of Illinois for state law torts; instead, he

   sued employees of the State as individuals. But “the formal identification of the parties

   as they appear in the record is not dispositive” in determining whether the action is, in

   fact, one against the State and thus one that must be brought in the Court of Claims.

   Leetaru v. Bd. of Trustees of Univ. of Illinois, 32 N.E.3d 583, 595 (Ill. 2015). “[S]ubstance

   takes precedence over form.” Id. The court must look at “the issues involved and the

   relief sought” to determine whether the immunity statute applies to claims against state

   employees. Id. An action against an individual state employee will be characterized as

   an action against the State if (1) the officers were acting beyond the scope of their

   authority through wrongful acts; (2) the duty alleged to have been breached was

   imposed on the officers solely by virtue of their employment and was not a duty owed

   by all citizens, and (3) the complained-of actions involved matters ordinarily within the

   officers’ normal and official functions. Richman, 270 F.3d at 441 (quoting Healy, 549

   N.E.2d at 1247); Turpin v. Koropchak, 567 F.3d 880, 883 (7th Cir. 2009).

          “The doctrine of sovereign immunity affords no protection, however, when it is

   alleged that the State’s agent acted in violation of statutory or constitutional law or in

   excess of his authority.” Leetaru, 32 N.E.3d at 595; accord Murphy v. Smith, 844 F.3d 653,

   658–59 (7th Cir. 2016). “This exception is premised on the principle that while legal


                                          Page 25 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 26 of 31 Page ID #1137




   official acts of state officers are regarded as acts of the State itself . . . when a state officer

   performs illegally or purports to act under an unconstitutional act or under authority

   which he does not have, the officer’s conduct is not regarded as the conduct of the

   State.” Leetaru, 32 N.E.3d at 596; accord Murphy, 844 F.3d at 659. The Seventh Circuit

   recently explained that, in 2015, the Illinois Supreme Court “reaffirmed the exception in

   broad terms, over a dissent that would have narrowed [its scope].” Murphy, 844 F.3d at

   659 (citing Leetaru, 32 N.E.3d at 611–12). The role of the federal courts “is to take the

   Leetaru majority opinion at its word” and “the exception applies whenever ‘agents of

   the State have acted in violation of statutory or constitutional law.’” Murphy, 844 F.3d at

   659 (quoting Leetaru, 32 N.E.3d at 597).

          Here, Jose-Nicolas alleged that Defendants Berry, Qualls, Purdom, and Snells not

   only committed the tort of negligence or willful and wanton conduct, but also that they

   violated the Eighth Amendment. There is evidence that Defendants Berry and Qualls

   beat Jose-Nicolas while he was restrained in handcuffs until he lost consciousness, and

   that Purdom and Snells stood by and did nothing to stop the beating. No correctional

   officers have the authority to use force “maliciously and sadistically to cause harm” or

   to ignore a fellow officer’s use of such force. See, e.g., Wilkins v. Gaddy, 559 U.S. 34, 37

   (2010) (prison officials violate the Eighth Amendment when they use force “maliciously

   and sadistically to cause harm” as opposed to “in a good-faith effort to maintain or

   restore discipline.”); Harper v. Albert, 400 F.3d 1052, 1064 (7th Cir. 2005) (prison officials

   “who have a realistic opportunity to step forward and prevent a fellow officer from

   violating a [prisoner’s] right through the use of excessive force but fail to do so” violate


                                             Page 26 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 27 of 31 Page ID #1138




   the Eighth Amendment). Thus, Jose-Nicolas has established a genuine issue of material

   fact as to whether these four Defendants acted in excess of their authority and violated

   the Eighth Amendment to the Constitution. Consequently, state sovereign immunity

   does not bar his state-law claims for negligence or willful and wanton conduct against

   them. See Murphy, 844 F.3d at 660 (concluding Illinois state sovereign immunity did not

   bar inmate’s tort claims for battery because inmate also alleged and proved that the

   defendants’ actions violated the Eighth Amendment of the Constitution). Bentz v. Ghosh,

   No. 16-1697, 2017 WL 5564679, at *5 (7th Cir. Nov. 20, 2017) (reversing the dismissal of

   state-law negligence claims based on state sovereign immunity because inmate alleged

   the defendants were negligent as well as deliberately indifferent to his serious medical

   needs in violation of the Eighth Amendment).

         State sovereign immunity also does not bar Jose-Nicolas’s state-law claims for

   negligence or willful and wanton conduct against Defendants Lang, Hughes, and Hart.

   In addition to alleging these Defendants committed the tort of negligence or willful and

   wanton conduct, Jose-Nicolas also alleged that Lang violated the Eighth Amendment

   and that Hughes and Hart violated his due process rights. There is evidence that Lang

   conducted nothing more than a cursory examination and ignored Jose-Nicolas’s

   complaints of pain and his need for additional medical care. There is also evidence that

   Hughes and Hart refused to allow Jose-Nicolas to call witnesses or to provide an

   interpreter at the Adjustment Committee hearing. As previously explained in this

   Order, no prison official has the authority to ignore a prisoner’s serious medical needs

   or deprive a prisoner of a liberty interest without due process. See Parts C and D above.


                                        Page 27 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 28 of 31 Page ID #1139




   Thus, the evidence in this case establishes a genuine issue of material fact as to whether

   Lang was deliberately indifferent to Jose-Nicolas’s serious medical needs in violation of

   the Eighth Amendment and whether Hughes and Hart violated his due process rights.

   Consequently, Jose-Nicolas’s state law claims against these Defendants can proceed in

   this Court without offending the Illinois doctrine of sovereign immunity.

           In sum, Defendants’ request to dismiss Jose-Nicolas’s state law claim for

   negligence or willful and wanton conduct on the basis of state sovereign immunity is

   denied.

           2. Public Official Immunity

           Public official immunity is a common law doctrine that dictates public officials

   are immune from individual liability for “the performance of discretionary duties

   performed in good faith” and “unique to the particular public office.” Currie v. Lao, 592

   N.E.2d 977, 984 (Ill. 1992); Kinzer v. City of Chi., 539 N.E.2d 1216, 1220 (Ill. 1989).8

   Defendants argue that they are entitled to public official immunity on the state-law

   claim for negligence or willful and wanton conduct because Jose-Nicolas alleges they

   breached a duty “which is unique to their positions as correctional employees” and

   which “they owed to [him] by nature of their position over him at a correctional

   facility” (Doc. 97, p. 14).



   8The common law doctrine known as public official immunity was codified in Section 2-201 of the Illinois
   Local Governmental and Governmental Employees Tort Immunity Act. 745 ILL. COMP. STAT. 10/2-201.
   Reese v. May, 955 F. Supp. 869, 874 (N.D. Ill. 1996); Horton v. City of Ottawa, 352 N.E.2d 23, 24 (Ill. App. Ct.
   1976). Notwithstanding the Tort Immunity Act, Illinois still recognizes the common-law public official
   immunity doctrine that gives immunity to individuals. Kinzer, 539 N.E.2d at 1220.



                                                  Page 28 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 29 of 31 Page ID #1140




          Defendants’ stunted, two-sentence argument, which is devoid of any citations to

   supporting authority, can be summarily denied. It also can be readily denied on the

   merits. Defendant Lang is not entitled to public official immunity because the duty she

   allegedly breached is owed by every health care professional to his or her patients,

   rather than an obligation incurred solely by virtue of being a public employee. Michigan

   Ave. Nat. Bank, 191 Ill. 2d at 521 (listing cases where public official immunity was denied

   to doctors and nurses because their duties arose from their professional relationship

   with the plaintiffs and thus they were not engaged in actions of a government

   character). As for the other Defendants, the evidence before the Court establishes an

   issue of fact as to whether they performed their duties in good faith. Consistent with the

   conclusions reached previously in this Order, a reasonable jury could find that Berry

   and Qualls were not acting in good faith when they beat Jose-Nicolas to the point of

   unconsciousness while he was restrained; that Purdom and Snells were not acting in

   good faith when they did not intervene as their fellow officers were beating a restrained

   inmate; and that Hughes and Hart were not acting in good faith when they ignored

   Jose-Nicolas’s request for a translator and to call an exculpatory witness at the

   Adjustment Committee Hearing.

          Consequently, Defendants’ request to dismiss Jose-Nicolas’s state law claim for

   negligence or willful and wanton conduct on the basis of public official immunity is

   denied.




                                         Page 29 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 30 of 31 Page ID #1141




                                         CONCLUSION

         Defendant Harrington is DISMISSED with prejudice at Plaintiff Jose-Nicolas’s

   request.

         For the reasons explained above, Defendants’ motion for partial summary

   judgment (Doc. 96) is GRANTED in part and DENIED in part. The motion is

   GRANTED as to Count 8 (intentional infliction of emotional distress), and judgment

   will be entered in favor of Defendants Berry and Qualls as to that Count at the

   conclusion of this matter. The motion is DENIED as to Count 2 (failure to intervene);

   Count 3 (deliberate indifference); Count 4 (due process); and Count 9 (negligent or

   willful and wanton conduct). Additionally, the motion is DENIED as to Defendants’

   respective requests for qualified immunity, state sovereign immunity, and/or public

   official immunity.

         This matter shall proceed to trial on the following Counts:

         Count 1:       an excessive force claim against Berry and Qualls;

         Count 2:       a failure to intervene claim against Berry, Qualls, Snell and
                        Purdom;

         Count 3:       a deliberate indifference claim against Berry, Qualls, Snell,
                        Purdom, and Lang;

         Count 4:       a due process claim against Hughes, Hart;

         Counts 6, 7: state law claims of assault and battery against Berry and
                      Qualls;

         Count 9:       a state law claim of negligence or willful and wanton
                        conduct against Berry, Qualls, Snell, Purdom, Lang, Hughes,
                        and Hart; and



                                         Page 30 of 31
Case 3:15-cv-00964-NJR-GCS Document 127 Filed 03/02/18 Page 31 of 31 Page ID #1142




         Count 11:   a claim for “Indemnification” against all Defendants.



         IT IS SO ORDERED.

         DATED: March 2, 2018


                                                _____________________________
                                                NANCY J. ROSENSTENGEL
                                                United States District Judge




                                      Page 31 of 31
